
Easy Care Acupuncture, P.C., as Assignee of Pinto Thompson, Appellant,
against21 Century Advantage Ins. Co., Respondent.




Gary Tsirelman, P.C. (Irena Golodkeyer, Esq.), for appellant.
Law Offices of Buratti, Rothenberg &amp; Burns (Sharon Brennan, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Theresa M. Ciccotto, J.), entered February 5, 2015. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs. 
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint based on plaintiff's assignor's failure to appear for duly scheduled examinations under oath (EUOs). 
Contrary to plaintiff's argument, the proof submitted by defendant was sufficient to demonstrate that plaintiff's assignor had failed to appear for the scheduled EUOs (see Stephen Fogel Psychological, P.C. v Progressive Cas. Ins. Co., 35 AD3d 720 [2006]; Active Chiropractic, P.C. v Praetorian Ins. Co., 43 Misc 3d 134[A], 2014 NY Slip Op 50634[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2014]). 
Plaintiff's remaining contention lacks merit (see e.g. T &amp; J Chiropractic, P.C. v State Farm Mut. Auto. Ins. Co., 47 Misc 3d 130[A], 2015 NY Slip Op 50406[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]; Metro Health Prods., Inc. v State Farm Mut. Auto. Ins. Co., 47 Misc 3d 127[A], 2015 NY Slip Op 50402[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud [*2]Dists 2015]).
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










